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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                 CASE NO. 3:18cr108/MCR

JOHNNIE HILL CALLAHAN III

                                       /


                      FINAL ORDER OF FORFEITURE

       This matter is before the Court on the Government’s Motion for Entry of

Final Order of Forfeiture by the United States of America. On February 19, 2019,

a Federal Grand Jury sitting in the Northern District of Florida issued a seven-

count Superseding Indictment against the defendant and others. The Superseding

Indictment charged the defendant with the following: Count One - the offense of

conspiracy to distribute and possess with intent to distribute 50 grams or more of

methamphetamine, its salts, isomers, and salts of its isomers, 500 grams or more of

a mixture and substance containing a detectable amount of methamphetamine, its

salts, isomers, and salts of its isomers, and 100 grams or more of a mixture and

substance containing a detectable amount of heroin, and cocaine, in violation of




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Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A)(viii), 41(b)(1)(B)(i),

841(b)(1)(C), and 846; Counts Two and Four - each charging the offense of

distribution or possession with intent to distribute 50 grams or more of

methamphetamine, its salts, isomers, and salts of its isomers, in violation of Title

21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)(viii) and Title 18,

United States Code, Section 2; Count Three - the offense of distribution or

possession with intent to distribute 5 grams or more of methamphetamine, its salts,

isomers, and salts of its isomers, in violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(B)(viii), and Title 18, United States Code,

Section 2l; Count Five - the offense of possession with intent to distribute 50

grams or more of methamphetamine, its salts, isomers, and salts of its isomers, 500

grams or more of a mixture and substance containing a detectable amount of

methamphetamine, its salts, isomers, and salts of its isomers, and 100 grams or

more of a mixture and substance containing a detectable amount of heroin, and

cocaine, in violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(A)(viii), 841(b)(1)(B)(i) and 841(b)(1)(C), and Title 18, United States

Code, Section 2; Count Six - the offense of possession of a firearm in furtherance

of a drug trafficking crime, in violation of Title 18, United States Code, Section

924(c)(1)(A)(i); and Count Seven - the offense of possession of a firearm and


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ammunition by a convicted felon, in violation of Title 18, United States Code,

Sections 922(g)(1) and 924(a)(2). The Government seeks the forfeiture of the

following property:

      A. Six (6) Pieces of Assorted Jewelry; and
      B. $9,246.00 in United States currency.

      The United States is entitled to possession of the above-described property

pursuant to Title 21, United States Code, Sections 853(a)(1) and 853(a)(2).

      On July 11, 2019, a Preliminary Order of Forfeiture was entered. Pursuant

to Rule G(4)(a)(iv)(C) of the Supplemental Rules for Certain Admiralty or

Maritime Claims and Asset Forfeiture Actions, notice of the forfeiture action was

published on the official internet government forfeiture site for at least thirty (30)

consecutive days. No person or entity has filed a claim setting forth their interest

in the property.

      IT IS ORDERED that the above-described property is condemned and

forfeited to the United States.

      ORDERED this 22nd day of October 2019.




                                        s/    M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE


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